                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                      )
                                                )
                       Plaintiff,               )
                                                )
 v.                                             )          No. 3:07-CR-89
                                                )          (PHILLIPS/GUYTON)
 JULIA C. NEWMAN,                               )
                                                )
                       Defendant.               )
                                                )


                                MEMORANDUM AND ORDER

               This case comes before the Court on Motion Of Herbert S. Moncier, Pro Se, To

 Intervene To Seek Declaratory Judgment To Determine His Duties To Defendant Prior To Trial On

 January 20, 2009 (“the Motion”) [Doc. 125]. The government has responded in opposition to the

 Motion by way of a Motion To Strike [Doc. 130].

               The Court has considered every argument advanced in the Motion, and the Court

 finds that they are not well-taken, and therefore, the Motion [Doc. 125] is DENIED.

               Given the denial of the Motion, the Government’s Motion To Strike [Doc. 130] is

 DENIED AS MOOT.

               IT IS SO ORDERED.

                                                    ENTER:


                                                         s/ H. Bruce Guyton
                                                    United States Magistrate Judge




Case 3:07-cr-00089-TWP-HBG          Document 133       Filed 01/13/09     Page 1 of 1   PageID
                                          #: 547
